                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                          EASTERN DIVISION



UNITED STATES OF AMERICA,

vs.
                                         CASE NUMBER: 2-22-CR-55-1
Wesley D. Johnson,                       JUDGE WATSON
                                         Magistrate Judge King


                             RE-NOTICE

      PLEASE NOTE the Change of Plea Hearing in the above entitled
action has been RESCHEDULED to November 9, 2022 at 10:00 AM.
Unless requested by the Defendant or Counsel for an in person
hearing this hearing will be conducted by GoTo Meeting.


                               NORAH MCCANN KING
                               UNITED STATES MAGISTRATE JUDGE

Date: October 11, 2022         /s/ Spencer Harris
                               Spencer Harris, Deputy Clerk
                               614-719-3027
                               spencer_harris@ohsd.uscourts.gov




PREVIOUSLY SCHEDULED DATE:     October 12, 2022
